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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


 BENJAMIN ANTHONY JOHNSON,
 a.k.a. JAMES LEE BELLE,

       Petitioner,

 v.                                                     Case No. 05-80955-11

 RAYMOND D. BOOKER,                                     HONORABLE AVERN COHN

       Respondent.

 ___________________________________/

                           ORDER DENYING
          MOTION FOR WAIVER OR SUSPENSION OF FEES AND COSTS
                                 AND
        MOTION FOR PERSONAL RECOGNIZANCE BOND PENDING APPEAL

       This is a criminal case. Benjamin Anthony Johnson pled guilty to conspiracy to

 distribute five kilograms or more of cocaine, in violation of 21 U.S.C. § 846 and § 841(a)

 and conspiracy to launder monetary instruments, in violation of 18 U.S.C. § 1956. On

 November 21, 2008, Johnson was sentenced to 150 months imprisonment.1 Johnson

 filed an appeal which is pending in the Court of Appeals for the Sixth Circuit. See

 United States v. Johnson, Case No. 08-2529.2

       On November 16, 2009, Johnson filed two pro se motions styled “Motion for

 Waiver or Suspension of Fees and Costs” and “Motion for Personal Recognizance




       1
       An Amended Judgment entered on December 4, 2008 and a second Amended
 Judgment entered on October 2, 2009.
       2
        According to the Sixth Circuit docket sheet, Johnson is represented by
 appointed counsel who filed a brief on his behalf on October 22, 2009.
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 Bond.”3 Because the case is on appeal, the Court cannot entertain the motions.

 Accordingly, the motions are DENIED.

       SO ORDERED.



                                         s/Avern Cohn
                                         AVERN COHN
                                         UNITED STATES DISTRICT JUDGE


 Dated: November 25, 2009


 I hereby certify that a copy of the foregoing document was mailed to Benjamin Johnson
 #459800, 17600 Ryan Road, Detroit, MI 48212-1155 and the attorneys of record on
 this date, November 25, 2009, by electronic and/or ordinary mail.


                                         s/LaShawn R. Saulsberry
                                         Case Manager, (313) 234-5160




       3
          The caption for both motions names Johnson as the Petitioner and Raymond
 Booker as the Respondent. Booker is the Warden at a state facility where Johnson was
 serving an unrelated sentence. However, Johnson used his federal court case number.
 To the extent that Johnson seeks to challenge his state court conviction, he would have
 to file a separate case.

                                            2
